EXHIBIT

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SETTLEMENT AGREEMENT AND RELEASE

THIS AGREEMENT is made and entered into as of the Bia of Le SS v/? 42
of year.J6/4_, by and between Rumualdo Lainez and Marvin Rivas Maldonado (collectively
“Complainants”) and Ann Tart, Douglas Tart, and Across the Lake Farming, Inc. (collectively
"Defendants"). Complainants are represented by Caitlin Ryland of Legal Aid of North Carolina.
Defendants are represented by George Murphy and Terry Rose.

This Settlement Agreement and Release (“Agreement”) is in settlement of all claims and
disputes between the parties related to Complainants’ employment with Defendants. For good
and valuable consideration, the receipt and sufficiency of which is hereby acknowledged, the
parties each hereby agree as follows:

1. Settlement Payment. Defendants have agreed to pay Complainants the sum of
Ten Thousand Dollars ($10,000.00) for all alleged damages. The parties agree
that these monies are to compensate the Complainants for alleged damages under
the Migrant and Seasonal Agricultural Worker Protection Act (“AWPA”). the
Fair Labor Standards Act (“FLSA”), and the North Carolina Wage and Hour Act
("NCWHA").

a. Non-wage allocation. The parties agree that Nine Thousand Thirty Five
Dollars ($9,035.00) shall be allocated to statutory damages under the AWPA
and liquidated damages under the FLSA. The money will be divided among
the Complainants equally. The parties agree that Three Hundred Sixty Five
Dollars ($365.00) of the total Settlement Amount shall be allocated to costs
incurred by Legal Aid of North Carolina in filing this case in United States
District Court and service of the complaint.

i. As of February 1, 2012, Defendants have paid Complainants Five
Thousand Dollars ($5,000) of this Ten Thousand Dollars ($10,000.00)
Settlement Payment.

ii. Defendants shall send a certified check made payable to “Legal Aid of
North Carolina’s Client Trust Account,” with “Lainez et al” noted on
the memo line. in care of Caitlin Ryland, Legal Aid of North Carolina
Farmworker Unit, P.O. Box 26626, Raleigh, NC 27611 for Four
Thousand Four Hundred Dollars ($4,400.00) no later than March 15,
2012.

lil. For the amount allocated to non-wage damages, Defendants furnish
each Complainant with an IRS Form 1099-MISC for 2011 and for
2012. The 2011 forms shall reflect Defendants’ payment to each
Complainant in the amount of Two Thousand Three Hundred
Seventeen Dollars and Fifty Cents ($2317.50) in 2011. These 1099-
MISC forms shall be sent to Complainants in care of Caitlin Ryland,
Legal Aid of North Carolina Farmworker Unit, P.O. Box 26626,
Raleigh, NC 27611 no later than January 31, 2012. The 2012 forms
shall reflect Defendants payment to each Complainant in the amount
of Two Thousand Two Hundred Dollars ($2200.00) in 2012. These

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1099-MISC forms shall be sent to Complainants in care of Caitlin
Ryland, Legal Aid of North Carolina Farmworker Unit. P.O. Box
26626, Raleigh, NC 27611 no later than January 31, 2013.

iv. For the amount allocated to filing costs and service of process. equal to
Three Hundred and Sixty Five Dollars ($365.00), Defendants shall
furnish Legal Aid of NC with an IRS Form 1099-MISC for 2011. This
1099-MISC form shall be sent to Legal Aid of NC in care of Caitlin
Ryland, Legal Aid of North Carolina Farmworker Unit, P.O. Box
26626, Raleigh, NC 27611 no later than January 31, 2012.

b. Wage Allocation. The parties agree that Six Hundred Dollars ($600.00) of the
total Settlement Amount shall be allocated to unpaid wages under the FLSA
and the NCWHA. The money will be divided among the Complainants
equally. As such, the agreed-upon amount allocated to unpaid wages owed to
Rumualdo Lainez is Three Hundred Dollars ($300.00) and the agreed-upon
amount allocated to unpaid wages owed to Marvin Rivas Maldonado is Three
Hundred Dollars ($300.00).

 

i. Defendants shall send a certified check made payable to each
Complainant in the amount of Three Hundred Dollars ($300.00) minus
applicable withholdings, in care of Caitlin Ryland, Legal Aid of North
Carolina Farmworker Unit, P.O. Box 26626, Raleigh, NC 27611 no
later than March 15, 2012.

ii, For the amount allocated to the Complainants’ unpaid wages,
Defendants will withhold and pay applicable taxes and will furnish
each Complainant with an IRS Form W-2 for 2012 showing the
applicable taxes and withholdings. Withholdings shal] be calculated
on miscellaneous pay period of Three Hundred Sixty Five (365) days.
These W-2's shall be sent to Complainants in care of Caitlin Ryland,
Legal Aid of North Carolina Farmworker Unit, P.O. Box 26626,
Raleigh, NC 27611 no later than January 31, 2013.

c. The parties stipulate and agree that the amount of the settlement and the
allocation of the settlement amount between wage and non-wage claims are
the result of good faith, arms-length negotiations between the parties and are
reasonable based on disputed facts.

2. Recordkeeping. In consideration for Complainants’ agreement not to file any
action against them, Defendants agree to make, keep and preserve payroll records in accordance
with the AWPA (29 U.S.C. §§1821 (d) and 1831 (c); 29 C.F.R. §§500.80(a) and (b)) and FLSA
(29 U.S.C. §211(c); 29 C.F.R. §516.2(a)) for all migrant or seasonal farmworkers who are
employed by them within the meaning of the AWPA and/or FLSA.

3. Payroll Policy. In consideration for Complainants’ agreement not to file any
action against them, Ann Tart, Douglas Tart, Across the Lake Farming, Inc., and any and all
successor corporations, companies, or entities operating or otherwise in control of the Douglas
and Ann Tart farming operation agree henceforth to pay directly any migrant or seasonal

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farmworkers who are employed by them within the meaning of the AWPA. FLSA. and/or
NCWHA and not to pay such workers through an intermediary such as a farm labor contractor.
Ann Tart, Douglas Tart, and/or Across the Lake Farming, Inc. and any and all successor
corporations, companies, or entities operating or otherwise in control of the Douglas and Ann
Tart farming operation will strictly supervise the payment of wages, will assist employees in
cashing their payroll checks, and will not permit farm labor contractors, or other intermediary,
directly or indirectly, to be involved in or present at the payment of wages.

4, Failure to Comply. Any failure of Defendants to fully comply with the terms and
conditions of paragraphs one (1), two (2), or three (3) of this Agreement shall constitute a default
under this Agreement. In the event of default, Plaintiffs will seek payment of Five Thousand
Dollars ($5,000.00), with interest from March 15, 2012, by filing the Joint Motion for Entry of
Consent Judgment attached as Attachment A.

5. Release. In consideration of the mutual releases of the parties and the other
agreements and promises set forth in the Agreement, the Complainants agree to each execute the
written Release attached as Attachment B. The Release shall be signed upon each Complainant
receiving his share of the settlement proceeds and IRS forms described in paragraph one (1).

6. No Admission/Waiver. The parties understand and agree that Defendants admit
no liability or wrongdoing with respect to any matter.

7. Controlling Law. This Agreement shall be governed by and construed in
accordance with the laws of the State of North Carolina. The parties agree that this Agreement
was last executed in North Carolina and any and all claims arising from or related to this
Agreement or its breach shall be brought, if at all, in the courts of North Carolina.

8. Severability. The provisions of this Release are severable, and if any part of it is
found to be unenforceable, the other paragraphs and provisions shall remain fully valid and
enforceable.

9. Burden and Benefit. This Agreement shall be binding upon and inure to the benefit
of the parties hereto and their heirs, successors and permitted assigns.

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Caitlin A. Ryland ee Murph
Legal Aid of North‘€arolina ie for Ann Tart,
Farmworker Unit Douglas Tart, and Across the

Attorney for Rumualdo Lainez Lake Farming, Inc.
and Marvin Rivas Maldonado

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Ann Tart, as Resident Agent
of Across the Lake Farming,
Inc.

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Attorney for Ann Tart,
Douglas Tart, and Across the
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NORTH CAROLINA
WESTERN DIVISION
CASE NO. 5:11-cv-00167-BR

Rumualdo Lainez and Marvin Rivas )
Maldonado, )
)
)
)
)
Plaintiffs, )
) JOINT MOTION FOR ENTRY OF
) CONSENT JUDGMENT
(Attachment A)
v. )
)
Francisco Baltazar, Sr., Francisco Baltazar, )
Jr., Across the Lake Farming Company, Inc., )
Douglas Tart, Ann Tart, and Michael Tart, )
)
)
)
Defendants. )
)

 

Plaintiffs Rumualdo Lainez and Marvin Rivas Maldonado (“Plaintiffs”) and Defendants
Ann Tart, Douglas Tart, and Across the Lake Farming, Inc. ("Tart Defendants"), by and through
their counsel, hereby jointly move this Court for entry of a consent judgment in favor of
Plaintiffs and against Tart Defendants. As to reasons why this motion should be allowed:

l. , the parties entered into a Settlement Agreement in this

 

matter. Tart Defendants have failed to comply with the terms of that agreement.
2. Tart Defendants have not complied with their obligation under paragraph one (1) of

the Settlement Agreement to pay to the Plaintiffs the sum of Five Thousand Dollars
($5,000.00).
3. Pursuant to paragraph four (4) of the Settlement Agreement, Plaintiffs and Tart

Defendants accordingly file this Motion on account of the default.

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Plaintiffs and Tart Defendants respectfully request that this Court grant this Motion and
enter judgment in favor of Plaintiffs in the sum of Five Thousand Dollars ($5,000.00). with

interest from March 15, 2012.

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Caitlin A. Ryland | George Murph ;
Legal Aid of North Carolina / Septee\ la __e-/3°/> of B' et —
Farmworker Unit Douglas Tart, and Across the — Date

Attorney for Rumualdo Lainez Lake Farming, Inc. Mor / en

and Marvin Rivas Maldonado

ff) j
Date |

 

 

  

Ann Tart, as Resident Agent
of Across the Lake Farming,
Inc.

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Attorney for Ann Tart, i VE a
Douglas Tart, and Across the ess fe
Lake Farming, Inc. Douglé Fart
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Date

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ATTACHMENT B
RELEASE

lL. 7, , Sign and execute the following release for the purpose of fully
and finally settling all my claims in the above-entitled action.

2. In return for my portion of the settlement of Ten Thousand Dollars ($10.000.00) paid by
Ann Tart, Douglas Tart, and Across the Lake Farming, Inc., I hereby fully and finally
release, acquit, discharge, and forever hold blameless Ann Tart, Douglas Tart. and Across
the Lake Farming, Inc, their heirs, administrators, and executors, from any and all
liability, claims known or unknown, disputed or undisputed, lawsuits. demands,
expenses, damages, costs, attorney’s fees, actions or causes of action, arising out of my
employment in North Carolina in 2009.

3. I declare that:

a. I have been given at least twenty-one (21) days in which to consider this Release;

b. I acknowledge that I have been informed of my right to consult with an attorney
before executing this Release and that I have had the opportunity to consult with
an attorney;

c. J understand that I have seven (7) days following my signing of this Agreement to
revoke this Release;

d. I have been informed that if I wish to revoke or cancel this Agreement I should
write Ann Tart, Douglas Tart, and Across the Lake Farming, Inc. about my
decision to cancel the Agreement at the end of the seven (7) day period;

e. I understand that I am specifically releasing, among other claims. any claims
under the Age Discrimination in Employment Act of 1967 and all amendments
thereto; and

f. I understand that I am not waiving any rights or claims that may arise after the
date that this Agreement is signed by all parties.

4. I have read this Release and I fully understand it to be a compromise settlement and
release of all claims. I affirm and guarantee that I am legally competent to sign this
Release, which I have done so of my own free will.

SIGNED AND EXECUTED in accordance with the provision of the Settlement Agreement.

Dated:

 

Certificate of Translation

I certify that I am fluent in both English and Spanish and that I orally translated this personal
statement from English to Spanish for and that he understood and
signed this statement voluntarily.

 

 

Print Name Signature

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